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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLORIDA

                                CASE N O. 12-CV-14373-DLG


   FEDER AL TRADE COM M ISSION,

          Plaintiff,



   A+ FINANCIAL CENTER,LLC,aFlorida
   lim ited liability company,also doingbusinessas
   A C CELER ATED FIN A N CIAL CEN TER S,
   LLC ,

   A C CELER ATED A C C O UN TIN G SER V ICE S
   LLC,aFloridalim ited liabilitycompany,

   CHRISTO PHER L.M IAN O,individually and
   asthemanaging m emberofAccelerated
   Accounting ServicesLLC,and

   DANA M .M IANO ,individually and msthe
   m anagingm emberofA+ FinancialCenter,LLC,

          Defendants.


     O RDER GRANTING RECEIVER'S UNCONTESTED M OTION TO AUTHO RIZE
             FINAL PAYM ENT OF PROFESSIO NAL FEES AND CO STS
               TO R EC EIV ER 'S A C C O UN TA N TS A N D A TT O R NEY S

         THIS CAUSE came before the Courton the Receiver's Uncontested M otion to Authorize

  FinalPaymentofprofessionalFeesand CoststoReceiver'
                                                   sAccountantsandAttorneys(ECF #
  2271(theçtM otion'').
         TH E COURT,hms considered the M otion,the pertinent portions of the record,the

  Receiver'sFinalReportandFinalAccounting (ECF#227),and isotherwise fully advised inthe
  prem ises.
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        I'
         he Courtdeterm inesthatthe feesand costsrequested in the M otion are reasonable and

  appropriate.Accordingly,

        IT IS H ER EBY O R D ER ED that

               TheReceiver'sM otion isGR ANTED.

        2.     The Receiverishereby authorized to pay his attorneys,Berger Singerman,LLP,

  feesandcostsin thetotalsum of$195,453.80.
        3.     The Receiver is hereby authorized to pay his accotmtants,Berkowitz Pollack

  BrantAdvisorsand Accountants,LLP,feesand costsin thetotalsum of$19,000.00.
        DONE AND ORDERED in ChambersatFortPierce,Florida,this l                        yf
  Decem ber2015.


                                                 UNITED STATES DISTRICT JUDGE


  cc:   AllCotmselofRecord
